Case 0:20-cv-60692-WPD Document 21 Entered on FLSD Docket 06/29/2020 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 20-60692-CIV-DIMITROULEAS

  JERRY PAUL,
  Individually and on behalf of all
  others similarly situated,

         Plaintiff,

  vs.

  ENVISION PHYSICIAN SERVICES, LLC,

        Defendant.
  ___________________________________/


                                      ORDER TO SHOW CAUSE


         THIS CAUSE is before the Court sua sponte.


         On June 12, 2020, the Court issued a Scheduling Order [DE 18] directing the parties to

  agree upon a mediator within fourteen (14) days and to advise the Clerk’s office of their choice.

  From the record, it appears that the parties have not yet selected a mediator.


         Accordingly, it is ORDERED AND ADJUDGED that the parties shall file a response to

  this Order to Show Cause by July 6, 2020, showing cause why the Clerk should not be directed

  to randomly select a mediator from the list of certified mediators. Failure to comply with this

  Order will result in the Clerk selecting a mediator at random.


         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 29th day of June, 2020.
Case 0:20-cv-60692-WPD Document 21 Entered on FLSD Docket 06/29/2020 Page 2 of 2



  Copies furnished to:

  Counsel of Record
